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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                           4:14CR000114-15 DPM


ADAM LEE MCCLUNG

                                      ORDER

      On October 16, 2014, the Court placed Defendant in inpatient drug

treatment, to be followed with chemical-free living until the resolution of all

charges. Doc. 91. Defendant successfully completed inpatient drug treatment, and

has been participating in chem-free living at Crowley’s Ridge in Jonesboro.

      Defendant has filed a Motion requesting permission to reside at his parents’

home in Paragould, and to participate in the outpatient drug treatment program at

Crowley’s Ridge. He indicates that his drug treatment counselor has approved the

change. Neither Defendant’s PTSO nor the Government object to Defendant’s

requested modification.

      Under these circumstances, the Court will allow Defendant to participate in

outpatient drug treatment and reside at his parents’ home. All other conditions of

release, including mental health counseling, shall remain in effect.
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     IT IS THEREFORE ORDERED that Defendant’s Motion to Modify

Conditions of Release (doc. 291) is GRANTED.

     Dated this 3rd day of March, 2015.



                                    ___________________________________
                                    UNITED STATES MAGISTRATE JUDGE




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